Case 0:23-cv-61461-AHS Document 1-1 Entered on FLSD Docket 07/31/2023 Page 1 of 2
JS 44 (Rev. 10/20) FLSD Revised 02/12/2021 CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor sabplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.

I. (a) PLAINTIFFS DEFENDANTS
Jose Glen Rodriguez SmileDirectClub, LLC
(b) County of Residence of First Listed Plaintiff Broward County, FL County of Residence of First Listed Defendant Davidson County, TN
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

Shamis & Gentile, PA, 14 NE 1st Ave, Suite 705, Miami, FL 33132
(305) 474 LAY

(d) Check County Where Action Arose: 1] MIAMI-DADE [] MONROE BROWARD [PALM BEACH [1 MARTIN [1 ST.LUCIE LCIINDIANRIVER [J OKEECHOBEE [HIGHLANDS

II. BASIS OF JURISDICTION = (Ptace an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “Xx” in One Box for Plaintiff)
(For Diversity Cases Only) and One Box for Defendant)
O1 lL U.S. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 0! 00 1 Incorporated or Principal Place O4 4
of Business In This State
OO 2. ~+U.S. Government o4 Diversity Citizen of Another State O2 [] 2 Incorporated and Principal Place O5 O5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject ofa 03 OO 3. Foreign Nation Oe O16
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only) Click here for: Nature of Suit Code Descriptions
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
(1110 Insurance PERSONAL INJURY PERSONAL INJURY [1] 625 Drug Related Seizure ( 422 Appeal 28 USC 158 CJ 375 False Claims Act
(J 120 Marine (1310 Airplane C1 365 Personal Injury - of Property 21 USC 881 [] 423 Withdrawal OD 376 Qui Tam (31 USC
1] 130 Miller Act (315 Airplane Product Product Liability U1 690 Other 28 USC 157 729 (a))
© 140 Negotiable Instrument Liability (1) 367 Health Care/ 1 400 State Reapportionment
(1 150 Recovery of Overpayment []320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 1 410 Antitrust
& Enforcement of Judgment Slander Personal Injury OO 820 Copyrights (0 430 Banks and Banking
(11151 Medicare Act (1330 Federal Employers’ Product Liability D1 830 Patent (1 450 Commerce
C152 Recovery of Defaulted Liability 1 368 Asbestos Personal O » Net ag Apptcaon C1 460 Deportation
: Injury Product Liability 820 Trademark 470 Racketeer Influenced and
Student Loans [1340 Marine eee Secrets O Corrupt Organizations
(Excl, Veterans) (11345 Marine Product LABOR SOCIAL SECURITY ==) 48), Conger red o2)
1153 Recovery of Overpayment Liability PERSONAL PROPERTY [J 710 Fair Labor Standards CO 861 HIA (13958) fal 7o ree
of Veteran’s Benefils (1350 Motor Vehicle OD 370 Other Fraud Act CI 862 Black Lung (923) 0 490 Cable/Sat TV
C1 160 Stockholders’ Suits (1355 Motor Vehicle C1 371 Truth in Lending D0 720 Labor/Memt. Relations 1 863 DIWC/DIWW (405(g)) J 850 Securities/Commodities/
(2 190 Other Contract Product Liability C1 380 Other Personal CD 740 Railway Labor Act C1 864 SSID Title XVI Exchange
(1195 Contract Product Liability | [1] 360 Other Personal Property Damage UJ 751 Family and Medical LD 865 RST (405(g)) C1 890 Other Statutory Actions
(1196 Franchise Injury C1 385 Property Damage Leave Act C1 891 Agricultural Acts
(1362 Personal Injury - Product Liability C1 790 Other Labor Litigation 1 893 Environmental Matters
Med, Malpractice UJ 791 Empl. Ret. Inc. C1 895 Freedom of Information
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS Security Act FEDERAL TAX SUITS Act
C1 210 Land Condemnation (1 440 Other Civil Rights Habeas Corpus: C1 870 Taxes (U.S. Plaintiff C1 896 Arbitration
0 220 Foreclosure (1441 Voting C1 463 Alien Detainee or Defendant) C1 899 Administrative Procedure
: 510 Motions to Vacate 871 IRS—Third Party 26 USC Acl/Review or Appeal of
C1 230 Rent Lease & Ejectment [] 442 Employment DO Sentence D609 ty Og Agency Decision és
443 Housing/ . 950) Constitutionality of State
C1 240 Torts to Land oO Accommodations ate Other: Statutes
LJ 245 Tort Product Liability (1 445 Amer. w/Disabilities - Ls 530 General IMMIGRATION
C1 290 All Other Real Property Emptoyment 535 Death Penalty CO 462 Naturalization Application
446 Amer. w/Disabilities- [[] 540 Mandamus & Other [1] 465 Other Immigration
Other [1 550 Civil Rights Actions
DO 448 Education (1 555 Prison Condition
560 Civil Detainee —
CJ Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only) g
| Original 2R . i Transferred from 6 Multidistrict yes
Proceeding O Re ete O3 " O 4 Reinstated O° another district Litigation Oo? Appeal to O18 Multidistrict Ls Remanded from
Court below) Reopened (specify) Transfer District Judge Litigation Appellate Court
from Magistrate —, Direct
Judgment File
VI. RELATED/ (See instructions): a) Re-filed Case OYES mNO b) Related Cases OYES ONO
RE-FILED CASE(S) JUDGE: DOCKET NUMBER:

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):

VII. CAUSE OF ACTION Violations of the Telephone Consumer Protection Act
LENGTH OF TRIAL via 4 days estimated (for both sides to try entire case)

VUI. REQUESTED IN CHECK IF THIS IS A CLASS ACTION
COMPLAINT: UNDER F.R.C.P. 23

DEMAND $ 5,000,000 CHECK YES only if demanded in complaint:
JURY DEMAND: Yes oO No

oe INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE

“Suly 28,2603 ZA

FOR OFFICE USE ONLY : RECEIPT # AMOUNT opr JUDGE MAG JUDGE

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INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

Authority For Civil Cover Sheet

The J& 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local mules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the
use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil
complaint filed. The attomey filing a case should complete the form as follows:

I. (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. Ifthe plaintiff or defendant is an official within a government agency, identify first the agency and then the official,
giving both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation
cases, the county of residence of the “defendant” is the location of the tract of Tand involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”. |

II. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C!P., which requires that jurisdictions be shown in pleadings. Place an “X” in
one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.

United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and
box | or 2 should be marked. Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states, When Box 4
is checked, the citizenship of the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)

Ill. Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

IV. Nature of Suit. Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of
suit code that is most applicable. Click here for: Nature of Suit Code Deseriptions.!

V. Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 USS.C., Section 1441. When the petition
for removal is granted, check this box.

Refiled (3) Attach copy of Order for Dismissal of Previous case. Also complete VL
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C, Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.

Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
Remanded from Appellate Court. (8) Check this box if remanded from Appellate Court.
VI. Related/Refiled Cases. This section of the JS 44 is used to reference related pending cases or re-filed cases. Insert the docket numbers and the

corresponding judges name for such cases.

VII. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 |
Brief Description: Unauthorized reception of cable service

VIII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.

Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Date and Attorney Signature. Date and sign the civil cover sheet.
